Case 2:02-Cr-20165-BBD Document 598 Filed 08/09/05 Page 1 of 4 Page|D 826

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

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UNITED STATES oF AMERICA, ) T,ME: Ll! \\ \°\"\
)
) rNrTIALs:_-M___
Plaintiff, )
)
vs. ) No. 02-20165
) ludge Donald
)
STACY LAYNE BEAVERS, )
)
Defendant. )

 

ORDER DISMISSING INDICTMENT
AS TO STACY LAYNE BEAVERS

 

Pursuant to the plea agreement of the parties, the oral motion of the Unitecl States of
America, and for good cause shown, it is hereby ORDERED that this case is dismissed as to the

defendant Stacy Layne Beavers.

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ENTER thls the day of August, 2005.

 

Q]§RNICE z‘pBOé§E DONALD l/Z/f

/Enited States Dist_rict Judge

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APPR ED FOR ENTRY:

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This notice confirms a copy ofthe document docketed as number 598 in
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